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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

                                       :
UNITED STATES OF AMERICA
                                       :

        v.                             : Criminal No. DKC 13-CR-00525-003
                                         Civil Action No. DKC 17-3284
                                       :
RAYMOND BULLETTE, III
                                       :

                        MEMORANDUM OPINION and ORDER

        Presently pending and ready for resolution in this proceeding

pursuant to 28 U.S.C. § 2255 is a motion for reconsideration. (ECF

No. 308).       For the following reasons, the motion will be denied.

I.      Background

        Raymond    Bullette,    III,       Petitioner,    was      charged    in   a

Superseding Indictment with conspiracy to distribute and possess

with intent to distribute 1,000 grams or more of phencyclidine

(“PCP”), a Schedule II substance, in violation of 21 U.S.C. § 846.

He went to trial before a jury in October 2014, and was found

guilty.       The Government had filed a notice pursuant to 21 U.S.C.

§ 851 of its intent to seek an enhanced penalty.                On June 15, 2015,

Judge Roger W. Titus sentenced Petitioner to life imprisonment,

the mandatory minimum.         The United States Court of Appeals for the

Fourth Circuit affirmed Petitioner’s conviction on direct appeal.

He timely filed a motion to vacate on November 6, 2017.                   (ECF No.

261).        After additional motions and responses were filed, Judge
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Titus denied the motion on August 9, 2018.           (ECF No. 297).      Judge

Titus also declined to grant a certificate of appealability. After

receiving extensions of time to file a motion for reconsideration,

Petitioner filed a motion on November 13, 2018, entitled “Pleading

to Reinstate § 2255 Proceedings and to Allow for Timely Requested

Amendment to the Petition for Clear Violation of 21 U.S.C. §

851(b), Ineffective Assistance of Counsel Claims which Attach.”

(ECF No. 306).   Judge Titus treated the motion as the contemplated

motion for reconsideration, and denied it on December 11, 2018.

(ECF No. 307).     The court then received the pending motion for

reconsideration on December 18, 2018, but it had been signed on

December 6, 2018, before Judge Titus had ruled on the earlier

motion.    (ECF No. 308).    The two papers obviously crossed in the

mail.        Thereafter,     Petitioner      filed    a    Certificate       of

Appealability, which was construed as a notice of appeal, on

December 31, 2018.    (ECF No. 309).      In the Fourth Circuit, he has

filed an informal brief, seeking review of the issue he raised in

the motion to reinstate § 2255 proceedings (which Judge Titus

treated as motion for reconsideration).

        Judge Titus passed away in March 2019, and the case was

transferred to the undersigned.           On May 30, 2019, the Fourth

Circuit remanded the case for the limited purpose of permitting

action on the motion for reconsideration.            (ECF No. 314).          The

United States Attorney was then directed to respond, which it did

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on August 30, 2019.       (ECF No. 323).   Petitioner then filed a reply.

(ECF No. 328).

II.   Standard of Review

      Petitioner seeks relief pursuant to Fed.R.Civ.P. 59(e), to

alter or amend the judgment.1         A Fed.R.Civ.P. 59(e) motion “need

not be granted unless the district court finds that there has been

an intervening change of controlling law, that new evidence has

become available, or that there is a need to correct a clear error

or prevent manifest injustice.”        Robinson v. Wix Filtration Corp.,

LLC, 599 F.3d 403, 411 (4th Cir. 2010).        “[M]ere disagreement [with

the outcome of a case] does not support a Rule 59(e) motion.”

Hutchinson v. Staton, 994 F.2d 1076, 1082 (4th Cir. 1993).                     “In

general, ‘reconsideration of a judgment after its entry is an

extraordinary remedy which should be used sparingly.’”                 Pac. Ins.

Co. v. Am. Nat’l Fire Ins. Co., 148 F.3d 396, 403 (4th Cir. 1998).”

(quoting 11 Charles Alan Wright, Arthur R. Miller, & Mary Kay Kane,

Federal Practice and Procedure § 2810.1 (2d ed. 1998).                It is not

permissible    to   use    a   post-judgment   motion    as     the   functional

equivalent of a successive § 2255 application.                United States v.

Winestock, 340 F.3d 200, 206 (4th Cir. 2003).




      1The motion was filed well outside the 28-day time limit for
such motions, but Judge Titus had granted extensions of time,
finally up to December 20, 2018. These extensions might not have
been proper. See Fed.R.Civ.P. 6 (b)(2). If not timely under Rule
59, the motion can be considered under Rule 60.
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III. Analysis

       The many motions, responses, and rulings in the time after

Petitioner’s direct appeal present quite a labyrinth to navigate.

Petitioner appears to contend that Judge Titus and the Government

misconstrued or overlooked some of his submissions in ways that

prejudiced consideration of the issues.          He also has claimed that

he did not receive, at least in a timely fashion, the Government’s

response to his § 2255 motion.         And, he claims that he sought to

file papers that are not in the court file.

       The pending motion for reconsideration purported to raise

four issues:       (1) whether Petitioner received the Government’s

response, (2) whether Judge Titus erred in resolving the question

of cause and prejudice for procedural default, (3) whether counsel

was ineffective regarding evidentiary objections and other trial

errors, and (4) whether the § 851 notice was sufficient and errors

in the resulting sentencing.          The Government responded, setting

out the lengthy and complicated history of this case.                 It argues

that none of the contentions in the most recent motion states

anything new or justifies reconsideration.

       Petitioner’s reply calls into question just what he raises,

or continues to assert, in the motion for reconsideration that

remains pending.        Because Judge Titus’ ruling and the pending

motion must have “crossed in the mail,” Petitioner may believe

that    Judge    Titus’   ruling    actually    denied     the     motion      for

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reconsideration.    In any event, the reply clearly states that the

only issue for which Petitioner seeks review is the one raised in

the Certificate of Appealability now pending in the Fourth Circuit.

(ECF No. 328, at 9).            That issue is whether the Government

sustained   its   burden   to     prove       prior     drug   felony       convictions

necessary to enhance sentencing penalties under § 851.                        (ECF No.

309, at 4).

     The    Certificate      of    Appealability            seeks      to     challenge

sentencing under § 851 on the merits: “[T]his petitioner now seeks

a Certificate of Appealability to make challenge of the fact that

he is not and has not been proven to qualify for the 851’s

sentencing [e]nhancements as stated by the statute.”                          (ECF No.

309, at 5).   He goes on to challenge five prior convictions in the

presentence report and again argues that the district court failed

to conduct proper hearings.          In the prior § 2255 proceedings,

Petitioner had challenged the adequacy of the § 851 notice, and

his attorneys’ conduct in that regard, but had not directly

challenged the prior convictions, or the nature of the hearings.2

     Even if Petitioner has not withdrawn the additional arguments

raised in his motion for reconsideration (ECF No. 308) to rely

solely on the argument advanced in his Certificate of Appealability


     2 At sentencing, the Government produced certified copies of
the prior convictions. (ECF No. 200, at 9-11). Its sentencing
memorandum responded to Petitioner’s objections to the notice and
to the use of the prior convictions. (ECF No. 184).
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(ECF No. 309), the arguments lack merit.            He presents nothing new

with regard to the asserted failure of the Government to provide

him with a copy of its response, his failure to overcome procedural

default, or counsels’ conduct concerning evidentiary objections.

Those grounds clearly provide no basis to reconsider.

        As to the sentencing pursuant to § 851, the motion for

reconsideration, beginning at page 32, challenges the adequacy of

the hearing. He asserts: “Mr. Lawlor was not prepared to challenge

Bullette’s prior state drug convictions.            The reason being, he is

not licensed to practice Law in California and have no working

knowledge of rules governing California convictions and challenges

thereto.”       (ECF No. 308, at 33-34).        Attached to the motion is

Attachment B, which appears to be an internal office memorandum

dated    five    days   before   the   sentencing   hearing      outlining     the

sentencing issues.       (ECF No. 308-1, at 6-11).        The last two pages

list the prior California convictions and state whether there are

potential challenges to their use for enhancement purposes.

        This material is not sufficient to justify reconsideration,

either.     Petitioner did not challenge the substance of the prior

convictions in his earlier § 2255 motion, instead focusing on the

adequacy    of    the   notice   and   the   need   to   include     the   prior

convictions in the indictment and prove them to the jury.                      He

complained about purported lack of advice from his attorneys about

the § 851 notice and its effect on the potential sentence.                 But he

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never challenged the substance of the prior convictions (or whether

he was the subject of those convictions) and did not even put forth

any   basis   to   challenge   their       use   until   the      Certificate    of

Appealability filed in the Court of Appeals in December 2018.                    To

the extent he seeks to assert that new challenge in his motion for

reconsideration, it would constitute an impermissible successive

motion.

IV.   Conclusion

      For the foregoing reasons, the motion for reconsideration

puts forth no basis for reopening these § 2255 proceedings, and

the motion IS DENIED.



May 13, 2020                                 /s/
                                   DEBORAH K. CHASANOW
                                   United States District Judge




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